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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION


   UNITED STATES OF AMERICA                       :
                                                  :
          v.                                      :       Case No. 4:18-CR-11
                                                  :
   SHANICQUA LATRICE COLEMAN                      :

                 SENTENCING MEMORANDUM OF SHANICQUA COLEMAN

          COMES NOW Shanicqua Latrice Coleman, by counsel, having considered the

   sentencing factors set forth in 18 U.S.C. §3553(a), and urges the Court that she be sentenced as

   agreed by her and the United States, to a term of probation of one year. This would be a sentence

   below the 70-87 month sentencing guideline range that would apply under the Sentencing

   Guidelines and is at the bottom of the Fed. R. Crim. P. 11(c)(1)(C) range of 0-36 months in the

   Plea Agreement. In support of her recommendation, Shanicqua Latrice Coleman states as

   follows:

          1.      Shanicqua Coleman, unlike most of the defendants in this matter who have

   nonetheless received favorable plea agreements anyway, plead early on and spared the

   government the expense of preparing for her trial. Despite that up front, prompt, acceptance of

   responsibility she will still be convicted of a felony crime of moral turpitude, unlike Tenikqua

   Fuller for example, who was only convicted of misprision of a felony. Shaniqua Coleman does

   recognize the more serious nature of her initial charges.

          2.      Ms. Coleman comes from a tight knit Danville family that includes the close

   involvement of her parents and sister. Indeed, they worked with her in the decision to take

   responsibility early on in this case. She also cares for a beautiful young child on a daily basis.
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          3.      Ms. Coleman has no criminal history, had been employed, and was a law abiding

   citizen before this matter. During a long period of pretrial supervision which included electronic

   monitoring, she had no negative issues.

          4.      Balancing all these factors, Ms. Coleman respectfully submits that a sentence of

   one year of probation would be most appropriate.

          WHEREFORE, taking into account the factors set forth in §3553(a), Shanicqua Coleman

   respectfully requests that she be sentenced to a term of probation of one year. This is a sentence

   at the low end of the agreed range, and would provide just punishment for her actions, well

   serving the purposes set forth in 18 U.S.C. §3553(a).

                                                 Respectfully submitted,

          Dated: January 23, 2020                /s/ Richard L. Derrico
                                                 Richard L. Derrico
                                                 COPENHAVER, ELLETT & DERRICO

                                                 Attorney for Shanicqua Coleman




                                             CERTIFICATE

          I hereby certify that I have this 23rd day of January 2020, caused to be filed the foregoing
   Sentencing Memorandum with the Clerk of Court via CM/ECF, which will provide a copy to
   counsel of record.



                                                        /s/ Richard L. Derrico
                                                        Richard L. Derrico
                                                        COPENHAVER, ELLETT & DERRICO

                                                        Attorney for Shanicqua Coleman
